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                   EXHIBIT C
        Case 2:23-cv-11634-NGE-APP ECF No. 14-4, PageID.87 Filed 08/01/23 Page 2 of 3




From:                Clinton Mikel
Sent:                Wednesday, July 26, 2023 4:50 PM
To:                  Elizabeth Marzotto Taylor; Adrienne Dresevic; Deborah Gordon
Cc:                  Sarah Gordon Thomas; Molly Savage; Jonathan Messina; Clinton Mikel
Subject:             RE: Pensler et al /Request for extension


Hi, Elizabeth,

I’m perplexed by your refusal to grant a first request for an extension of time of more than a week (we requested 45
days). I am optimistic it is a misunderstanding – it would be rare that we encounter a refusal to grant professional
courtesies. I note our firm has worked cooperatively with yours in the lead-up to your filing (FYI -- your firm told us you
were sending a settlement demand – did we miss that?).

Under FRCP 15, “a party shall plead in response to an amended pleading within the time remaining for response to the
original pleading or within 10 days after service of the amended pleading, whichever period may be the longer.” We are
not aware of any actual service of the Amended Complaint. Are you contending that your email to us is service or that
service has been made in some other way? Please advise.

Even if the Amended Complaint has been served (or that we would accept service), that would require responses on
the original response dates. We would accept service via email in exchange for a requested adjournment of our
response. At minimum, we are asking that you grant an adjournment of 45 days from August 8, 2023, and make the
response for all Defendants due on September 23, 2023.

We normally don’t need to do this -- but, to flesh out why we need an adjournment: (1) I am working on this matter,
and I/Adrienne and our associate Jonathan have a busy client docket (transactional and litigation); (2) we have multiple
pre-planned vacations; (3) we have summertime camp/childcare logistics; (4) we have out-of-town cases and work travel;
(5) you have named five defendants (two individuals and three entities, with associated d/b/a’s) – we still don’t have a
clear plan as to whether we are providing joint representation, or if we are representing the individually named
defendants; and (6) we still need to evaluate changes to your First Amended Complaint, internally and with the client.
September 23, 2023, takes us out of summer, and back to kids-in-school.

Under LR 7.1(a), please confirm whether you will oppose an extension until September 23, 2023, for all Defendants to
respond to the First Amended Complaint.

We would be happy to draft the stipulation and/or joint motion for the extension. If you will not consent and/or intend
to oppose this reasonable request, please be clear about that because we will need to file a motion with the Court for
the requested time and we will need to advise the Court that we met and conferred. If you oppose, we would ask for
the same courtesy we provided you above where we outlined reasons for our request – we would like to see reasons
for your opposition (if any). Happy to setup a telephone meet and confer if you don’t think email is adequate.

Please advise.

Thanks, Clinton

                             Clinton Mikel
                             Partner
                             O. (248) 996-8510 M. (313) 600-8587
                             F. (248) 996-8525
                             A. 32000 Northwestern, # 240, Farmington Hills, MI 48334
                             E. cmikel@thehlp.com


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We operate additional offices in New York as “The Dresevic, Iwrey, Kalmowitz & Pendleton Law Group.”
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From: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>
Sent: Tuesday, July 25, 2023 3:17 PM
To: Adrienne Dresevic <ADresevic@thehlp.com>; Deborah Gordon <dgordon@deborahgordonlaw.com>
Cc: Sarah Gordon Thomas <sthomas@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>;
Clinton Mikel <CMikel@thehlp.com>; Jonathan Messina <jmessina@thehlp.com>
Subject: RE: Pensler et al /Request for extension

    You don't often get email from emt@deborahgordonlaw.com. Learn why this is important

Adrienne,
Plaintiff’s Amended Complaint is attached. We will agree to a one-week extension of Defendants’ time to respond.

Regards,


                         Elizabeth M arzotto Taylor|Attorney & C ounselor|
                         D EB O R A H G O R D O N LA W
                         |phone: (248)258-2500
                         |fax: (248)258-7881
                         |w ebsite:ww w .deborahgordonlaw .com




From: Adrienne Dresevic <ADresevic@thehlp.com>
Sent: Tuesday, July 25, 2023 3:02 PM
To: Deborah Gordon <dgordon@deborahgordonlaw.com>
Cc: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>; Sarah Gordon Thomas
<sthomas@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>; Adrienne Dresevic
<ADresevic@thehlp.com>; Clinton Mikel <CMikel@thehlp.com>; Jonathan Messina <jmessina@thehlp.com>
Subject: Pensler et al /Request for extension

Deborah,

Good a ernoon. We have been retained by Elizabeth A. Pensler, D.O., PLLC (d/b/a “Pensler Vein and Vascular”, “Pensler
Vein and Vascular Surgical Ins tute”, and “Elizabeth Face + Body Med Spa”), Elizabeth Pensler, D.O., Elizabeth Med a,
PLLC, Derek Hill, D.O. and Derek L. Hill, D.O., PLLC (d/b/a “Hill Orthopedics”) in connec on with the recent civil complaint
filed by Julia Zimmerman in the District Court for the Eastern District of Michigan under Case No. 2:23‐cv‐11634‐NGE‐
APP. According to the Docket, a response is due for certain Defendants on August 7, 2023, and others on August 8,
2023.

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